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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

   IN RE: FEMA                                                                      MDL NO. 1873
   FORMALDEHYDE
   PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                          JUDGE ENGELHARDT

                                                                          MAG. JUDGE CHASEZ

   THIS DOCUMENT IS RELATED TO:
   Milton Holmes, et al v DS Corp. d/b/a     3
                                             X
   Crossroads RV, et al., Case No. 2:10-cv-482
   ______________________________________________________________________________

                                      ORDER
   ______________________________________________________________________________

          Considering the foregoing Motion of Plaintiffs, Plaintiffs are allowed until August 2nd,

   2010, or until __________________, 2010, to serve the Defendants.

          IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

   Extension
Hello This is aofTest
                  Time to Serve.

          DATED this 22nd              June
                     ____ day of _______________, 2010 in New Orleans, Louisiana.



                                                By:    ____________________________________
                                                       KURT D. ENGELHARDT
                                                       UNITED STATES DISTRICT JUDGE


   Submitted By:
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